EXHIBIT 3
From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Tuesday, June 1, 2021 1:18 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Mr. Silver-
Given the deadlines noted in my original email below, we reiterate our reque
noted timeframes that PIC will continue to protect SIC’s interests and mana,

to do under the relevant agreements.

If we do not hear back from you as requested we will protect SIC’s interests
reimbursement of any expenses.

| look forward to your timely response.

Thank you.
Amy Gallent
Amy Gallent
U.S. General Counsel
ORG y a hn Catalina U.S. Insurance Services LLC

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From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Tuesday, June 1, 2021 10:01 AM

To: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Warning: External email, use care with links & attachments
Ms. Gallant:
Thank you for your e-mail.

We are currently reviewing the situation and will revert upon completion of
our review.

Jeff Silver

From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Friday, May 28, 2021 2:54 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: American Employers/Pennsylvania Insurance Co Obligations

Dear Mr. Silver,

Pursuant to the Transfer and Assumption agreement entered into between Pennsylvania General Insurance
Company, now known as Pennsylvania Insurance Company (PIC), and American Employers’ Ins. Co. (AEIC),
now known as SPARTA Insurance Company (SIC), we write to confirm that PIC - which for 16 years has either
handled the AEIC claims itself or by virtue of an assignment to its then parent - will continue to honor its
obligations and assume, handle, and pay all claims. The Chief Liquidation Officer (CLO) of Bedivere Insurance
Company in Liquidation (BIC) has informed us that he has duly tendered all claims that arise from the AEIC
policies that BIC had been managing and paying on behalf of PIC pursuant to a reinsurance agreement
between BIC’s predecessor, One Beacon Insurance Company, and PIC.

SIC has been directly named and served in the following matters: (i) Bedivere Ins. Co. v. Triangle Enterprises,
Inc., No 17-Cl-00522, McCracken, KY Circuit Court; (ii) Roman Catholic Diocese of Syracuse v. Arrowpoint
Cap. et al., Case No 20-30663-5-mer, Adv. Pro. 21-50002-5-mcr, US Bkcy. Ct. WDNY; and (iii) /n re Diocese
of Buffalo, Case No. 20-10322 CLB, Adv. Pro. 21-01001, US Bkcy. Ct. WDNY; (iv) Missouri Department of
Labor and Industrial Relations Division of Workers’ Compensation claim, injury number 18-111944. SIC has
retained DLA Piper to protect SIC’s interest in the liquidation proceedings and all related matters. DLA has
obtained an extension to respond to Triangle's third party complaint through and including July 2, 2021. A copy
of DLA's confirmatory letter is attached. SIC has not yet been served with Great American's third party
complaint in the Triangle action. Filings in the Triangle and Great American actions are under seal and subject
to a protective order. We will provide the Triangle filings to you upon confirmation that they will be protected
under the terms of the protective order. We will provide the Great American filings to you once we are served
with them and confirm that they too will be protected under the order.

In the two bankruptcy coverage matters referenced above, we understand that there is a stay until June 2,
2021, and in the WC matter a response is required by June 16, 2021.

SIC has also been advised that the CLO of BIC has demanded that PIC establish an imprest account with
Armour Risk Management (ARM) by June 7, 2021, so that the WC claims for which PIC is responsible can
continue to be funded. We have also been informed that PIC is in discussions with ARM to continue managing
these claims and all other related claims on behalf of PIC.

We would be grateful if you would acknowledge receipt of this e-mail. Please also confirm within the
timeframes noted above that PIC will continue to protect SIC’s interest, and manage and pay claims as it is
obligated to do under the relevant agreements.

Thank you very much. Have a good weekend.
Amy Gallent

Amy Gallent
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